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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. CV-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER DISMISSING MOOT
                                                                         10   This Order Relates To:                  )   MOTIONS
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
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                                                                         18        The Court is in receipt of the parties' joint filing, dated
                                                                         19   July 17, 2015, ECF No. 3920.      Pursuant to the table attached at ECF
                                                                         20   No. 3920-1, insofar as any of the following motions are presently
                                                                         21   still pending before the Court, the Court hereby DENIES and
                                                                         22   DISMISSES them as moot:     ECF Nos. 2963, 2977, 2987, 2990, 3000,
                                                                         23   3002, 3004, 3021, 3034.
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                                                                         25        IT IS SO ORDERED.
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                                                                         27        Dated: July 21, 2015
                                                                         28                                        UNITED STATES DISTRICT JUDGE
